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EXHIBIT B
(2 of 3)
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6.10 Hand guard

@ MSR owners are
evenly split on
having rails or
not having rails
on their MSR

6.11 Finish color

® Black is by far the
most popular
finish color with
83% of recent
MSRs.

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What type of hand guard is on your
most recent MSR?

Don't know
3% Monolithic Other
Free floating 29%
without rails =
16%

    
  

Standard with
ils Free floating
21% with rails

26%

n= 7,203

 

 

 

 

What type of finish color is your
most recent MSR?

Wood grain
Olive Green one
3% Camouflage 2% Custom
3% 2%

     

Flat Dark Earth

n= 7,248

 

 

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MSR Consumer Report 2010

 

6.12 Barrel and Operation

e 62% of most recent MSRs had a threaded barrel, 64% had a flash hider, 54% had a 16”
barrel and 62% operate on a direct gas impingement.

 

 

Does the barrel on your most
recent MSR have:?

       
  
   

Flash hider
Don't Other / Non-
Muzzle know 12% Permanent
brake / és _ 45%
Permanent

 

8%

Muzzle %

 

 

Is the barrel on your most
recent threaded or non-
threaded?

Don't
know Other
11% of

   

Non-
threaded /
crowned

25%

 

 

 

 

    

 

 

 

   

 

 

brake /
Non- ,
Permanent Flash hider
12% /
Permanent n=6,878 n=7,229
19%
e . Top “other” responses include:
1) neither flash hider or muzzle break
What is the barrel length? What type of system does
iG your MSR operate on?
I 3%
Don't " Don't
24” know 11%” vay Recoil / know —
1% 1%
6% 3% Blow- 7%
ini back
operated
10%
Gas
piston
20% ‘i 52%,
n= 7,335 n=7,334
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MSR Consumer Report 2010

 

7 FUTURE PURCHASE INTENTIONS

7.1 Likelihood of buying a new MSR in next 12 months

 

How likely are you to purchase a new MISR in
the next 12 months?
(1=Very unlikely & 10=Very likely)

0.00 2,00 4.00 6.00 8.00

1 L 1 j

Total
1

w

x
oa
iu
o

# MSRs owned
2

|

3+ 7,09

3 times or less

n
oS
So

|

# times used 411
last 12 months 4993

 

24+ 7.29

 

a
in
0

Under 35

 

35~44
Age

|

bo
wo

45~54

 

5564

ba
fe)
o

65+

|

 

$45,000 & under
$45,001 to $75,000 6.10

$75,001 to $110,000

Dn
n we
in | Oo
~l

 

 

n=7,345 $110,001+

 

The most likely sub-groups to buy a new MSR in the next 12 months are:

© Multiple MSR owners

e Frequent users

e The more affluent groups
e The under 35s.

 

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7.2 Currently own and likely to buy

Currently Own (% of respondents)

Rifle sling
Soft carrying case

Mounted rifle scope
Hard carrying case
Backup iron sights
Tactical flashlight
Spotting scope
Bipod

Railed handguard
Vertical foregrip
Coyote off ecto
Tactical apparel
Trigger upgrade
seclatqen ite (el
Laser optic

Tea TES (0) 0)

Laser designator
Soulnd'suppressor

 

n=6,188 — 7,054
Top 5 most owned:

Rifle sling

Soft carrying case
Mounted rifle scope
Hard carrying case

Gh: fe" Be

Backup iron sights
Top 5 most likely to buy in next 12 months:

Trigger upgrade
Range finder
Sound suppressor
Spotting scope

SA ge ee

Night vision

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Plan'to buy in next 12 months
(% of respondents)

 

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8 MSR USAGE

8.1 Reasons for owning MSR

 

Please rank the following reasons on a scale of 1-10

for you owning a MVISR.
(1=Not important & 10=Very important)

 

Recreational Target

shooting MSR’s

Owned

 

d
Home defense Total

 

m1
Collecting

a

 

Varmint Hunting m 3+

 

Competition
shooting

 

Big Game Hunting

 

Professional Use /
Job related

 

 

n= 5,070

 

 

 

Multiple MSR owners give higher importance ratings for:
e Collecting
e Competition shooting
e Big game hunting
e Professional use,

 

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Please rank the following reasons on a scale of

1-10 for you owning a MSR. (1=Not important &
10=Very important)
rH 6

 

 

 

 

a) 2 8 10
Recreational nee
Target shooting s _
Home defense
Total
Collecting m Range
Member
Varmint Hunting li Non-
Member

 

Competition
shooting

 

Big Game
Hunting

 

Professional Use
/ Job related

 

 

n= 5,070

 

 

 

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Please rank the following reasons on a scale of

1-10 for you owning a MSR. (1=Not important &
10=Very important)
4 6

 

Recreational

 

 

 

 

 

# times
Target shooting used MSR
last 12
months
Home defense Total
M3 times or
Collecting less
m4~il
Varmint Hunting mhanes
24+
Competition
shooting
Big Game
Hunting

 

Professional Use
/ Job related

 

 

n= 5,070

 

 

 

Avid users (24+ times used per year) give higher importance ratings for:

e Varmint and big game hunting
© Competition shooting
© Professional use

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MSR Consumer Report 2010

 

 

Please rank the following reasons on a scale of

1-10 for you owning a MSR. (1=Not important &
10=Very important)

Recreational
Target shooting

 

Home defense

 

 

 

Total
Collecting @ Military
/ LE.
fi Non
Varmint Hunting Military
/ LE.
Competition
shooting

 

Big Game
Hunting

 

Professional Use
/ Job related

 

 

n= 5,070

 

 

 

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8.2 Usage
Have you used a MSR in the last 12 months? MSR’s
0% 20% 40% 60% 80% 100% 120% Owned
95% © Total
93% mi
Yes 979% m2
5%
7%
No 3%
2% n=7,165
Have you used a MSR in the last 12 months?
0% 20% 40% 60% 80% 100% 120%
Total
95%
Yes 97%
94% @ Range
Member
i Non-
om Member
No 3%
ae n=7,165
Have you used a MSR in the last 12 months? by Age
0% 20% 40% 60% 80% 100%
1 ! ‘ s i i Total
95%
98% jg Under 35
Vex 97%
95%
94% @35~44
92%
m45~54
5%
2% “6
a m55~64
5%
6% 65+
8%
n=7,165

 

 

 

 

Usage patterns are very similar across most sub-groups. Younger, range members and multiple MSR

owners tend to use their MSRs more.

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8.3 Frequency of usage

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Approximately how many times in the last 12
months have you used your MSR?

 

 

 

0% 10% 20% 30% 40% 50%
43%
46%

3 times or less

42%

42%

28%
32%
4~11
29%
22%
15%
12

12°23

16%
17%

2.

24+

19%

 

n= 7,049

 

 

MSR’s
Owned

Total

Mi

m2

3+

 

 

© The average times used among all MSR users was 16.7 times in the last 12 months.

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MSR Consumer Report 2010

 

 

 

Approximately how many times in the last 12
months have you used your MSR?

0% 10% 20% 30% 40% 50%

1 i 1 L —___}

   

43%

3 times or less

 

 

 

47%
lm Total
28%
4Av11 28% @ Range
Member
28%
f@ Non-
Member
15%
12°28 16%
14%
14%
24+ 16%

 

n= 7,049

 

 

 

 

Usage frequency is higher among:

e Range members
e Multiple MSR owners.

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8.4 Year/Year MSR Usage

 

Did you shoot your MSRs more, less or about the same?

0% 10% 20% 30% 40% 50% 60%

More MSR’s

Owned

 

Total
Less a1

m2

 

48% 3+
%

49%

A9%

About the same

n=6,983

 

 

 

 

 

Did you shoot your MSRs more, less or about the same?

0% 10% 20% 30% 40% 50% 60%

37%
More

 

Mm Range Member

 

16%
Less

FE

i Non-Member

About the same

n=6,983

 

 

 

 

 

Range members were more likely to have increased their usage over the last 12 months compared
to the previous year.

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8.5 Where used

MSR Consumer Report 2010

 

 

Target shoot at
Public range

Target shoot at
Private range

Target shoot on my
/ family land

Target shoot on
friends land

While hunting on
Private land

While hunting on
Public land

Competition
Shooting

While at work

At paid course /
training academy

In military

Other
n= 7,034

 

In the last 12 months where did you shoot your MSRs?

 

0% 10% 20% 30% 40% 50% 60%

 

MSR’s
Owned

 

Total

 

i

 

m2

 

i 3+

 

 

 

B.

88%

| a
uS MMM

 

 

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In the last 12 months where did you shoot your
MSR?
0% 10% 20% 30% 40% 50% 60% 70%
44%
Target shoot at nee
Public range 42%
Target shoot at Ze
Private range
Target shoot on
my / family land @ Total
Target shoot on
friends land
f@ Range
While hunting Member
on Private land
While hunting li Non-
on Public land Member
Competition
Shooting
5%
While at work Es 5%
5%
At paid course / Pt
training... 3%
2%
In military H 2%
2%
Oth %
er si
5% n= 7,034
© 2010 NSSF oO - re Page 42
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MSR Consumer Report 2010

 

 

In the last 12 months where did you shoot your MSR?

0% 10% 20% 30% 40% 50% 60% 70%

 

 

 

 

 

 

 

 

 

Target shoot at
Public range
# times
Target shoot at used MSR
Private range last 12
months
Target shoot on ‘
my / family land 51% @ Total
Target shoot on
friends land 2% 3 times
or less
While hunting on
i mw4~11
Private land 42%
While hunting on e293
Public land
Competition mw 24+
Shooting
While at work

 

At paid course /
training academy

 

    

In military
6%

4
Q,
‘oO

Multiple MSR owners are relatively more likely to shoot:

 

Other
n= 7,034

 

 

 

e Ata private range

e Competition

e As part of work

e Avid users (shooting 24+ times a year) are more likely to shoot: at all venues.

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8.6 Able to shoot MSR as often as would like

Have you been able to shoot your MSR as often as you would
like in the last 12 months?

100%

0% 20% 40% 60% 80%

24% Range Member

Yes

 

 

® Non-Member

82%

 

 

n= 5,326

 

 

 

82% of non-range members were not able to shoot their MSRs as often as they would like in the
last 12 months. Although this drops to 76% for range members there is still the vast majority
of MSR owners that don’t get to shoot as often as they would like.

 

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8.7. Barriers to shooting MSR more frequently

How important are each of the following in preventing you
from shooting your MSR more often?

 

Mean Score (1 to 10 scale)

0.00 2.00 4.00 6.00 8.00 10.00

i L —)

Not enough free 7.90
time 7.66

 

3 fm Range
Member

Cost of
ammunition

a
|

6,61

 

Distance | must
travel fora
suitable place...

@ Non-
Member

 

 

 

Lack of
ammunition
available

4.37
4.55

 

 

No one to go 3.19
with 3.71

I

Cost of range 2.78

fees 3.93 n= 4,132

 

 

 

 

e Lack of time and the cost of ammunition are the two most important reasons for not being able
to shoot as often as they would like.

e Non-range users are more likely to say cost of range fees has an impact but is still placed in the
bottom two in terms of importance.

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8.9 Ammo used

 

What is the % breakdown of the
ammunition you used in the last 12
months for your MSR?

Import Ammo

Handloaas /
Reloads
21%

MUA
factory loads

Prov

n= 6,984

 

 

 

 

MSR Consumer Report 2010

e Budget factory loads are used 42% of the time with premium loads accounting for 25%.

8.10 Number of rounds fired in last 12 months and forecast

Last 12 2011
ileyah atk ——
an E

ee ss

Cee a
Te | 16%)
401 - 600

Ci a
|5,001-10,000

  
 
  

=

1%

 

n= 7,029

e A quarter of MSR owners fired 1,000 rounds or more in 2010. 32% anticipate firing more

than 1,000 rounds in 2011.
e The average number of rounds fired was 1,056.

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MSR Consumer Report 2010

 

8.11 Ammo buying

 

 

 

 

 

 

 

When you buy ammunition, what quantity do
you typically buy at one time?
0% 10% 20% 30% 40% 50% 60%
1-50 rounds MSR’s
Owned
Total
51-199
mi
m2
200-499 fi 3+
500-1999
52%
2000+
1%
5%
n= 6,934

 

 

 

 

e 43% of owners buy 500+ rounds at one time. This rises to 57% for multiple MSR owners.

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8.12

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Reloading

 

 

Do you reload your own ammunition?
60%

70%

j

50%

40%

30%

20%

10%

0%

MSR’s
Owned

Yes
Total

mi
m2
3+

54%

 

 

65%

n= 7,022

 

 

 

 

45% of MSR owners reload their own ammunition. This rises to 54% for multiple MSR
owners.

 

 

% of Reloadrers

What percentage of total ammunition do you reload?
100
100%

90%
80%
70%
60%
50%
40%
30%
20%
10%

0%

 

 

60% 70% 80% 90% 100%

50%

10% 20% 30% 40%

% of Ammo re-loaded n=3,108

 

 

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7 out of 10 reloaders reload 50% or more of their ammo, 32% reload 90% or more.

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MSR Consumer Report 2010

8.13 MSR shooting distance

 

What distance do you generally hunt or target shoot
at with your primary MSR?
0% 10% 20% 30% 40% 50% 60% 70%

   
   

 

 

 

 

 

 

 

Under 100 yards MSR’s
Owned
63%
100 - 299 yards :
66% M Total
wi
300 - 499 yards
B2
+
500 - 999 yards mY
0%
1,000+ yards | 9%
0%
1%
Does not apply 45
1%

 

 

 

® The most popular distance to fire MSRs is 100-300 yards. Multiple MSR owners tend to
shoot slightly longer distance.

n=7,029

8.14 Who do you MSR shoot with

 

When target shooting with your MSR do

you generally go shooting with:?
With 5+

e 20% of MSR owners
shoot alone. The most
popular shooting
party size is 2 with

Nig peaeee
45% of occasions.

other people
31%

With 1 other

person
45%

 

 

 

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8.15 Other firearm shooting activity

a EL
SSS SS sy
27% 13
a 3%)
Rifle Target Shooting 32%
Hunting Small Game | 31% |
Sporting Clays 30%
Trap Shooting | 30%
Hunting Varmint 19%
Competition Shooting | 81% ||

 

 

 

e MSR owners participate in a wide variety of other shooting and hunting activities with other
firearms. Nearly three-quarters also participate in handgun target shooting. Around a third
also take part in big game hunting, skeet shooting, rifle target shooting, small game hunting
and trap shooting.

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MSR Consumer Report 2010

 

9 PROFILES

9.1 Single MSR owners vs Multiple MSR owners

 

Profile - Single MSR Owners vs Multiple MSR Owners

0% 20% 40% 60% 80% 100% 120%

L iL 1 1 \ Jj

Own1 MSR fox “= 100%
Own 2+ MSRS pide 100%
Range member | - Abc
Non-member Range
~ Infrequent user
4-11 times
12-23 times
Avid user
Military / L.E.
Non-Military
7 Age - Under 35
Age - 35-44
Age-45+ |
Income - up to $75K == 25 9f8%
hone-SSK*K Ar’ 5296 i Own 2+
Education -Bachelos+ a £22 MSRs
Education-Lesstha bah. i 225,

Chidreninhre =” 4132

Nochildreninhre ie 45

 

 

 

 

 

 

 

 

 

 

 

mOwn 1
MSR

 

 

 

 

 

 

 

Target shoot MSR.
Competition shoot [iif 11%

Hunt using MSR |S %; 0,

Use MSR for work/law [ids 29
Not used MSR last 12 mths jie”
Recent buyer —mmietithemen 44%
Premium MSR buyer (>$1500)  iiiiea®% 1694
Heavily accessorised MSR |i? "529,

High spend accessories |x=mmmmmmiiezQi%n 32%

Very likely to buy MSR [iain 2eieee 36% n=7,372

Plan to buy accessories

88a,

 

 

 

 

 

 

 

 

 

 

Multiple MSR owners are relatively more likely to be:

e Arange member Competition shooter

e A frequent or avid user e Hunt using the MSR

e Froma military background e Recent MSR buyer

e Age 35-44 © Heavily accessorized MSR

e Earn over $75,000 e High spenders on MSR and accessories
e Nochildren at home

Please note; some of the percentages for each sub-group will not add to 100% due to non-responses

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9.2 Range Member vs Non-Range Member

 

Profile - Range Member vs Non-Range Member
0% 20% 40% 60% 80% 100% 120%

Own 1 MSR ils 409,

Own 2+ MSRs i 50%°°%
Range member fGe™ —_ meee
Non-member Range pli 100%

Infrequent user |= 240,
4-11tines = 3436
12-23 times |i 36%
Avid user fama ibs26%
Military / LE. ———w @ Range
No-Miitay =a member
Age- Under 35 |=mtidP% 29,
Age - 35-44 |i 20%,
i Ae - 45+ 53), 61%
Income-up to $75K iMG 509, @ Non-
Income - $>$75K — 7 ee member
Education - Bachelors+ = 379¢45% Range
Education - Less than Bach. es
Childreninhome =a 4234,
No children in home aT

- Target shoot MSR.
Competition shoot may’ 14%
Hunt using MSR {ia 2326,
Use MSR for work/law iia b:d2%
Not used MSR last 12 mths _file?%s,
Recent buyer | 3.29%
Premium MSR buyer (>$1500) him 4 135%
Heavily accessorised MSR ae
High spend accessories [=m 935,22
Very likely to buy MSR |=" 732% n='7;972
Plantobuyacescis a 77%,

Range members are relatively more likely to be:

i L 1 J

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

e Own multiple MSRs e Arecent MSR buyer

e Anavid MSR user e Heavily accessorized

e Age under 45 e Premium MSR buyer

e Income over $75K e Very likely to buy an MSR in the next
© Well educated 12 months.

e Have no children at home

A competition shooter
Please note: some of the percentages for each sub-group will not add to 100% due to non-responses

 

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9.3. Infrequent MSR User vs Avid User

 

 

Profile - Infrequent, (<3 times) vs Avid, (24+ times) MSR user

0% 20% 40% 60% 80% 100% 120%

L L I 1 1 1. j

Own 1 MSR
Own 2+ MSRs
Range member
Non- member Range
—Infrequentuser ["%
4-11 times
12-23 times
__ Avid user
Military / LE.
Non-Military
Age - Under 35
Age - 35-44
Age - 45+
Income - up to $75K —
incone-$>$75K [an 442%, BES BNEE
Education -Bachelors+ == 347%
Education - Less than Bach. aes:
Children inhon¢ [ts 1435,
No children in home ee
Target shoo Vi bike 95%
Competition shoot [imide 25%
Hunt using MSR |i O%esssm 47%
Use MSR for work/law _|iiinidemmm 2394
Not used MSR last 12 mths | §%
Recent buyer eee 479,
Premium MSR buyer (>$1500) jie? %a0z
Heavily accessorised MSR \mmmmied? 4596

High spend accessories |=—ieZSY 379,

Very likely to buy MSR =item 4.494 n= 7,372

Plan to buy accessories = me 74%

 

 

 

 

 

 

 

 

 

 

infrequent
user

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Avid MSR users are relatively more likely to be:

e Arange member e Competition shooter, hunters and use
® Own multiple MSRs MSR for work/law enforcement

e Military background e A recent MSR buyer

e Age 45 and over e A premium MSR buyer

e Heavily accessorized MSR

Please note: some of the percentages for each sub-group will not add to 100% due to non-responses

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MSR Consumer Report 2010

 

9.4 Target Shooters vs Hunters

 

 

Profile - Target Shooters vs Hunter

0% 20% 40% 60% 80% 100%

Own MSR = 36%
(Ow2+VMS3S ie S49,
Range member [4352
Non-member Range [ell "S09,
Infrequent user je 18% 39%
4-11tines [iin 29%,
12-23 times |jeahGY* 249,
a Avid user |aiiiesdidén 2796
ij! 43% mi Target
vim Se shoot
Age-Under 35 {=m 1292 MSR
Age -35-44 |x 31%
- Ae stl rs 26,

Income - up to $75K _ SS Hunt
—__ Income - $>$75K using
Education - Bachelors + MSR

____ Education - Less than Bach.
Children in home

No children in home _
Target shoot MSR
Competition shoot

Hunt using MSR ee 100%

Use MSR for work/law

Not used MSR last 12 mths _|

Recent buyer

Premium MSR buyer (>$1500)

Heavily accessorised MSR

High spend accessories

Very likely to buy MSR

Plan to buy accessories

4 L J

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

534% n= 7,372

 

 

 

 

Target shooters and hunters have very similar profiles. Hunters are slightly more likely to be:
© Multiple MSR owners
© Not be a member ofa range
e Less well educated
e Bean avid user
© More likely to buy an MSR in the next 12 months.

Please note: some of the percentages for each sub-group will not add to 100% due to non-responses

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MSR Consumer Report 2010

 

9.5 Owners who don’t use their MSRs

 

 

Profile - Non-Users
0% 20% 40% 60% 80% 100% 120%

Own 1 MSR

__ Own 2+ MSRs
Range member
Non-member Range
Infrequent user
4-11 times
12-23 times
Avid user [™gsg" 13%

Miitay/Li Eh 43% = ame
 loviiti'n i 363
Age - Under 35 a
Age - 35-44 imum 922%
Age - 45+ 72% ms Haven't
Income-uptoS7KK*K eqn used
Income - $>$75K_ 48% on
Education - Bachelors+ |=" 344° last 12
Education - Less than Bach. |=: 942% months
Childrenin home {= 3541%
No children in home [=a /"6.49¢
Target shoot MSR Qs 87%
Competition shoot [a3 5%
Hunt using MSR gg 23%
Use MSR for work/law | o92 10%
Not used MSR last 12 mths | --4%———_______ _ , 100%
Recent buyer jim yas 36%
Premium MSR buyer (>$1500) [liars
Heavily accessorised MSR |r"gy 19%
High spend accessories _[iammmysy, 27%
Very likely to buy MSR jam 139% | 29%

Planto buy accessories [57521 72% n= 7,372

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Non-MSR users are relatively more likely to be:
e Single MSR owners

Non-range member

Age over 45

No children at home

Have fewer accessories

e® Spend less on MSR

e Less likely to buy in the next 12 months.

Please note: some of the percentages for each sub-group will not add to 100% due to non-responses

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